          Case: 23-1779    Document: 23      Page: 1      Date Filed: 05/12/2023




                                    No. 23-1779

                 IN THE UNITED STATES COURT OF APPEALS

                           FOR THE THIRD CIRCUIT


                              IN RE COINBASE, INC.

                                                       Petitioner.

               On Petition for a Writ of Mandamus to the United States
                        Securities and Exchange Commission.

     BRIEF OF AMICUS CURIAE INVESTOR CHOICE ADVOCATES
             NETWORK IN SUPPORT OF PETITIONER



 Kurt W. Hansson, N.Y Bar No.                 Igor V. Timofeyev*, D.C. Bar No.
 4472825                                      998291
 kurthansson@paulhastings.com                 igortimofeyev@paulhastings.com
 PAUL HASTINGS LLP                            Nicolas Morgan*, CA Bar No. 166441
 200 Park Avenue                              nicolasmorgan@paulhastings.com
 New York, NY 10166                           PAUL HASTINGS LLP
 Telephone: 1(212) 318-6000                   2050 M Street NW
 Facsimile: 1(212) 319-4090                   Washington, DC 20036
                                              Telephone: 1(202) 551-1700
                                              Facsimile: 1(202) 551-1705
                                              *Application for admission pending

                                              Attorneys for Amicus Curiae

                                              INVESTOR CHOICE ADVOCATES
                                              NETWORK




LEGAL_US_W # 116299432.3                  - ii -
          Case: 23-1779    Document: 23       Page: 2   Date Filed: 05/12/2023




                     CORPORATE DISCLOSURE STATEMENT

       Amicus Curiae submits the following corporate disclosure statement: Investor

Choice Advocates Network (“ICAN”) is a nonprofit, public interest organization

working to expand access to markets by underrepresented investors and

entrepreneurs. ICAN has no parent corporation, and no publicly held company has

a 10% or greater ownership in ICAN.




LEGAL_US_W # 116299432.3                  - iii -
            Case: 23-1779           Document: 23           Page: 3         Date Filed: 05/12/2023


                                        TABLE OF CONTENTS
                                                                                                              Page
CORPORATE DISCLOSURE STATEMENT ......................................................III

STATEMENT OF INTEREST .................................................................................1

SUMMARY OF ARGUMENT ................................................................................3

ARGUMENT ............................................................................................................3

A.       By Failing to Acknowledge Limits to Its Jurisdiction, the SEC Chills
         Legitimate Investment Opportunities, Harms Investors.................................4

B.       By Failing to Act on Rulemaking Petitions, the SEC Discourages the
         Investing Public From Petitioning for Reforms .............................................7

CONCLUSION .......................................................................................................12

CERTIFICATE OF SERVICE ...............................................................................13




LEGAL_US_W # 116299432.3                                 -i-
            Case: 23-1779            Document: 23            Page: 4         Date Filed: 05/12/2023




                                      TABLE OF AUTHORITIES

                                                                                                              Page(s)

Cases

Chamber of Commerce of the
  United States of America v. SEC,
  412 F.3d 133 (D.C. Cir. 2005) .............................................................................. 4

Statutes
Securities Act of 1933 ......................................................................................1, 2, 11

    Rule 501(a)......................................................................................................2, 11

Other Authorities
Gary Gensler, Chair, U.S. SEC, Testimony Before the United States
  Senate Committee on Banking, Housing, and Urban Affairs,
  https://www.sec.gov/news/testimony/gensler-testimony-housing-
  urban-affairs-091522 (Sept. 15, 2022).................................................................. 5

Hester M. Peirce, Commissioner, SEC, Remarks before the Investment
  Advisory Committee, (December 2, 2021)............................................................ 4

Hester M. Peirce and Elad L. Roisman, Commissioners, SEC,
  Statement in the matter of Coinschedule,
  https://www.sec.gov/news/public-statement/peirce-roisman-
  coinschedule (July 14, 2021) ................................................................................ 8

Nikhilesh De, SEC Chair Gensler Declines to Say if Ether Is a
   Security in Contentious Congressional Hearing, Coindesk,
   https://www.coindesk.com/policy/2023/04/19/sec-chair-gensler-
   declines-to-say-if-ether-is-a-security-in-contentious-congressional-
   hearing/ (April 19, 2023) ...................................................................................... 7

Ronald J. Colombo, Merit Regulation via the Suitability Rules,
  Journal of International Business and Law: Vol. 12: Iss. 1,
  Article 2 (2013) ..................................................................................................... 5




LEGAL_US_W # 116299432.3                                  -ii-
            Case: 23-1779            Document: 23            Page: 5        Date Filed: 05/12/2023




William Hinman, Dir., Div. of Corp. Fin., SEC, Digital Asset
  Transactions: When Howey Met Gary (Plastic),
  https://www.sec.gov/news/speech/speech-hinman-061418
  (June 14, 2018)...................................................................................................... 6




LEGAL_US_W # 116299432.3                                - iii -
          Case: 23-1779       Document: 23       Page: 6      Date Filed: 05/12/2023




                           INTERESTS OF AMICUS CURIAE1

       Investor Choice Advocates Network (“ICAN”) is a nonprofit organization that

advocates for expanding access to markets—including markets for digital assets—

for underrepresented investors and entrepreneurs who do not share the same access

and market power as those with more assets and resources.

       Amicus ICAN has a significant interest in ensuring clarity in the SEC’s

application of the federal securities laws to assets, including digital assets. As an

organization speaking on behalf of underrepresented market participants, Amicus

also has a significant interest in ensuring the SEC’s power to regulate securities does

not improperly hamper the ability of individuals and organizations seeking to engage

in the sort of digital asset transactions that Coinbase and similar entities facilitate.

The SEC’s ambiguous and expansive interpretation and application of the Securities

Act of 1933 (“Securities Act”), Securities Exchange Act of 1934 (“Exchange Act”),

and other federal securities laws to digital assets will have far-reaching negative

consequences on the opportunities available to investors across the country.

       Finally, Amicus ICAN has an interest in urging the SEC to respond in a timely

manner to rulemaking petitions such as those submitted by Coinbase. In November,


1
  Petitioner Coinbase, Inc. and Respondent U.S. Securities and Exchange Commission have
consented to the filing of this brief. No party or party’s counsel, and no person other than Amicus
ICAN and its counsel, authored this brief in whole or in part or contributed money intended to
fund preparing or submitting the brief.
LEGAL_US_W # 116299432.3                       -1-
          Case: 23-1779    Document: 23    Page: 7     Date Filed: 05/12/2023




2022, Amicus ICAN petitioned the SEC for rulemaking with respect to certain

requirements of Rule 501(a) under the Securities Act of 1933, yet has received no

response or decision from the Commission. The investing public’s ability to petition

the federal government agency responsible for regulating the securities markets, and

the federal courts’ ability to ensure that the agency adheres to the administrative law

requirements in its rulemaking, carries little worth if the SEC may simply ignore

such petitions indefinitely.

       The interests of Amicus ICAN differ from those of the parties. As stated above,

ICAN is a nonprofit organization advocating for the protection and maximization of

investor choice--a perspective that may not be adequately represented by the

positions of either Coinbase (a for-profit crypto-currency exchange) or the SEC (a

federal government regulatory agency).




LEGAL_US_W # 116299432.3                  -2-
          Case: 23-1779    Document: 23     Page: 8     Date Filed: 05/12/2023




                           SUMMARY OF ARGUMENT

       The SEC’s failure to act on Coinbase’s rulemaking petition not only

contravenes the requirements of the Administrative Procedure Act, but is also

against public policy in at least two important ways.

       First, the SEC has failed to acknowledge any meaningful limits to its

jurisdiction in the digital assets area, meaning that those who sell digital assets

have had the threat of enforcement without the benefit of any rules. When the SEC

fails to act in response to a rulemaking petition, it signals a desire for weaponized

ambiguity to the detriment of digital asset issuers and the investors or consumers

who buy those assets.

       Second, through its inaction the SEC disenfranchises all rulemaking

petitioners, including those seeking rulemaking that would increase choices

available to investors and consumers.

                                    ARGUMENT

The Court should grant Coinbase’s petition for a writ of mandamus and require the

Commission to take action – one way or the other – on Coinbase’s rulemaking

petition. To deny Coinbase’s writ would not only license the SEC’s abdication of

its responsibility as an administrative agency, but also chill the development of

digital assets and instruments that the consuming public is interested in buying.


LEGAL_US_W # 116299432.3                  -3-
         Case: 23-1779     Document: 23     Page: 9     Date Filed: 05/12/2023




    A. By Failing to Acknowledge Limits to Its Jurisdiction, the SEC Chills
       Legitimate Investment Opportunities and Harms Investors

       The SEC’s failure to engage in rulemaking delineating the permissible

boundaries of trading in digital assets subjects the cryptocurrency industry, its

trading platforms, and investors to unnecessary uncertainty as to what constitutes

permissible legal conduct. Chilling legal conduct contravenes public policy. If the

SEC were successful in chilling legal investing activities in the digital assets area,

investors may be deprived of the opportunity to purchase the investments of their

choice. Depriving investors of the opportunity to participate in legal investing

activity (even if disfavored by the SEC) would cause them harm thereby harming

the public interest as well. See Chamber of Commerce of the United States of Am.

v. SEC, 412 F.3d 133, 144 (D.C. Cir. 2005) (loss of opportunity to purchase mutual

fund shares constituted a legally cognizable injury).

       As SEC Commissioner Hester M. Peirce has observed, maintaining

“regulatory ambiguity” around digital assets “is costly and treacherous for well-

intentioned developers and their lawyers.”2 The ability to increase costs and

regulatory risks associated with a particular asset class enables the SEC to


2
  Commissioner Hester M. Peirce, Remarks before the Investment Advisory
Committee, December 2, 2021 (“The SEC has not provided clarity in response to
repeated questions on crypto from reputable players, but has instead embraced an
approach that has been described aptly to me as “strategic ambiguity.” Such an
approach facilitates enforcement actions, but it is costly and treacherous for well-
intentioned developers and their lawyers.”).
LEGAL_US_W # 116299432.3                -4-
        Case: 23-1779     Document: 23      Page: 10   Date Filed: 05/12/2023




discourage investments in that asset class without explicitly prohibiting such

investments.

      As the SEC Chairman acknowledged recently in congressional testimony,

the SEC is a disclosure-based regulator, and does not have the authority to engage

in merit-based regulation.

      For the last 90 years, our capital markets have relied on a basic
      bargain. Investors get to decide which risks to take, as long as
      companies provide full, fair, and truthful disclosures. Congress tasked
      the SEC with overseeing this bargain. We do so through a disclosure-
      based regime, not a merit-based one. 3

      Explicitly prohibiting investments in an asset class, however, would

transform the SEC into a “merits based” regulator—something Congress

specifically sought to avoid when it created the SEC. A merits-based regulator has

the ability to prohibit investors from exercising their own decisions and runs the

risk that the regulator’s requirements are applied inappropriately.4 Congress

explicitly precluded a merits-based approach when establishing the SEC because it

“wanted to ‘avoid the implicit approval by the federal government of the merits of

any securities offered for sale to the public.’”5


3
  Gensler, Gary, Chair, U.S. Securities and Exchange Commission, Testimony
Before the United States Senate Committee on Banking, Housing, and Urban
Affairs (Sept. 15, 2022), available at: https://www.sec.gov/news/testimony/gensler-
testimony-housing-urban-affairs-091522.
4
  Colombo, Ronald J., Merit Regulation via the Suitability Rules, 12(1) J. of Int’l
Bus. & L. (2013).
5
  Id. at 4.
LEGAL_US_W # 116299432.3                  -5-
        Case: 23-1779     Document: 23      Page: 11     Date Filed: 05/12/2023




      Maintaining regulatory ambiguity toward digital assets improperly enables

the SEC to do implicitly what it may not do explicitly: disapprove of the merits of

investments offered for sale to the public. Examples of the SEC’s “regulatory

ambiguity” abound, but of particular note here is that the SEC has been ambivalent

when it comes to acknowledging the limits of its jurisdiction over digital assets that

are not securities. In other words, with no meaningful exceptions, the SEC has

refused to identify digital assets that are not securities and are therefore outside the

SEC’s jurisdiction to regulate. Sometimes the SEC or its staff have come close to

acknowledging the limits of its jurisdiction in this space, only to revert to the

equivalent of “no comment.”

      Two recent examples make the point. In 2018, the then-Director of the

SEC’s Division of Corporation Finance said the following in a speech regarding

one digital asset, Ether: “putting aside the fundraising that accompanied the

creation of Ether, based on my understanding of the present state of Ether, the

Ethereum network and its decentralized structure, current offers and sales of Ether

are not securities transactions.”6 Seems unambiguous. But when subsequently the

SEC’s Chairman was directly asked at a hearing before the House Financial




6
  See William Hinman, Dir., Div. of Corp. Fin., SEC, Digital Asset Transactions:
When Howey Met Gary (Plastic) (June 14, 2018),
https://www.sec.gov/news/speech/speech-hinman-061418.
LEGAL_US_W # 116299432.3              -6-
        Case: 23-1779     Document: 23      Page: 12     Date Filed: 05/12/2023




Services Committee whether Ether is a security, he refused to provide an answer.7

“Strategic ambiguity.”

       Similarly, in a 2022 proposed rule regarding hedge fund disclosures, the

SEC included a definition of “digital assets” that, while not a model of clarity,

provided some guidance.8 When the SEC issued the final rule a year later,

however, the previously included definition of “digital assets” was absent. In its

place was a footnote reading: “The commission and staff are continuing to

consider this term and are not adopting ‘digital assets’ as part of this rule at this

time.”9 More “strategic ambiguity.”

       By requesting that the SEC engage in rulemaking with respect to digital

assets, Coinbase has sought to remove some of the uncertainty created by the

SEC’s “strategic ambiguity.” Unfortunately, the SEC’s failure to act on

Coinbase’s rulemaking petition—even by indicating whether or not it would

engage in rulemaking--compounds the “strategic ambiguity” to the detriment of the

investing public.

    B. By Failing to Act on Rulemaking Petitions, the SEC Discourages the
       Investing Public From Petitioning for Reforms


7
  Nikhilesh De, SEC Chair Gensler Declines to Say if Ether Is a Security in
Contentious Congressional Hearing, Coindesk (Apr. 19, 2023), available
https://www.coindesk.com/policy/2023/04/19/sec-chair-gensler-declines-to-say-if-
ether-is-a-security-in-contentious-congressional-hearing/
8
  https://www.sec.gov/rules/proposed/2022/ia-6083.pdf
9
  https://www.sec.gov/rules/final/2023/ia-6297.pdf
LEGAL_US_W # 116299432.3                -7-
        Case: 23-1779     Document: 23     Page: 13    Date Filed: 05/12/2023




      The SEC’s pattern of routinely ignoring rulemaking petitions seeking clarity

around digital asset regulation has the effect of discouraging not only such

petitions, but also innovation in the digital asset space. Irrespective of the SEC’s

reasons for not engaging in the requested rulemaking, the agency’s failure to

respond to such petitions contravenes not only the fundamental precepts of

administrative law, but also public policy. In fact, the SEC’s abdication of its duty

to respond to these requests signals that petitioning the government has no

impact—a suggestion detrimental to the legitimacy of administrative agencies.

      Coinbase’s rulemaking petition was by no means the first public request to

the SEC for greater clarity around digital assets, including requests for “no action”

letters from the SEC staff.10 Indeed, Coinbase’s petition was not even the first

rulemaking petition on the subject.11 Other, prior requests include at least the

following:

       March 15, 2017--Rulemaking petition by Ouisa Capital regarding the

         regulation of digital assets and blockchain technology . The petition


10
   See, Commissioners Hester M. Peirce and Elad L. Roisman, Statement in the
matter of Coinschedule (July 14, 2021) available at
https://www.sec.gov/news/public-statement/peirce-roisman-coinschedule (“There
is a decided lack of clarity for market participants around the application of the
securities laws to digital assets and their trading, as is evidenced by the requests
each of us receives for clarity and the consistent outreach to the Commission staff
for no-action and other relief.”).
11
   SEC rulemaking petitions can be found here:
https://www.sec.gov/rules/petitions.htm
LEGAL_US_W # 116299432.3                  -8-
          Case: 23-1779    Document: 23      Page: 14     Date Filed: 05/12/2023




           stated “Ouisa encourages the SEC to engage in a meaningful discussion

           of how to regulate FinTech companies that are issuing digital assets that

           may be deemed securities and the platforms and broker-dealers that

           facilitate the issuance and trading of those digital assets. We believe

           digital assets in several contexts are securities and that existing laws

           provide a mechanism for regulation of the issuance and trading of digital

           assets. However, we encourage the SEC to publish a concept release on

           the regulation of the issuance and trade of digital assets to provide

           suitable guidance to the industry followed by the adoption of a new

           regulation on the same.”

           (https://www.sec.gov/rules/petitions/2017/petn4-710.pdf) The SEC did

           not respond.

        January 26, 2018--Rulemaking petition by Liquid M Capital, LLC related

           to issuance of initial coin offerings that took place prior to the

           promulgation of related guidance by the Commission. The petition

           stated: “Liquid M encourages the SEC to provide an opportunity for

           issuers of tokens through initial coin offerings (‘ICOs’) that took place

           prior to the promulgation of related guidance by the SEC the opportunity

           to remediate their illegal offerings.”



LEGAL_US_W # 116299432.3                   -9-
          Case: 23-1779    Document: 23      Page: 15     Date Filed: 05/12/2023




           (https://www.sec.gov/rules/petitions/2018/petn4-719.pdf) The SEC did

           not respond.

        December 12, 2018--Request for rulemaking by Templum, Inc. to

           address how digital assets are regulated once a trade occurs The petition

           stated: “We encourage the SEC to provide needed guidance related to

           post-trade activities in the digital asset space.”

           (https://www.sec.gov/rules/petitions/2018/petn4-736.pdf) The SEC did

           not respond.

        April 12, 2021—Request by Sustainable Holdings, PBC to provide

           regulatory clarity with respect to the regulation of a new form of digital

           assets – non-fungible tokens. The request stated: “Arkonis encourages

           the SEC to engage in a meaningful discussion of how to regulate FinTech

           companies and individuals that are creating NFTs that may be deemed

           digital asset securities and the platforms that facilitate the issuance and

           trading of NFTs.” (https://www.sec.gov/rules/petitions/2021/petn4-

           771.pdf) The SEC did not respond.

        January 22, 2022--Petition for Rulemaking by J.W. Verret, Associate

           Professor, George Mason University Antonin Scalia School of Law

           requesting the Commission to issue an open call for comment from the

           public regarding the need for flexibility in the application of the federal

LEGAL_US_W # 116299432.3                  - 10 -
        Case: 23-1779     Document: 23     Page: 16    Date Filed: 05/12/2023




         securities laws to digital assets in order to initiate an open-sourced

         redesign of regulations enforced under the federal securities laws. The

         petition noted that “[t]his call for comment might function as a ‘genesis

         block’ for the SEC to initiate an open-sourced redesign of regulations

         enforced pursuant to the laws enforced by the SEC.”

         (https://www.sec.gov/rules/petitions/2022/petn4-782.pdf) The SEC did

         not respond.

On November 9, 2022, Amicus ICAN itself petitioned the SEC to engage in

rulemaking to reduce the diversity, equity, and inclusion (“DEI”) barriers for

“accredited investors” by replacing the net worth and income requirements of Rule

501(a) under the Securities Act of 1933 with non-financial metrics—an issue

broadly applicable to both digital securities and traditional securities.12 ICAN

received no response or comment.

      Coinbase’s petition amply sets forth why the SEC’s refusal to respond to its

rulemaking petition contravenes settled requirements of administrative law and this

Court’s precedents. Amicus ICAN respectfully submits that the SEC’s

demonstrated, years-long practice of routinely ignoring petitions for rulemaking

regarding digital assets and other subjects is also against public policy and




12
  Available at https://www.sec.gov/rules/petitions/2022/petn4-796.pdf
LEGAL_US_W # 116299432.3              - 11 -
          Case: 23-1779    Document: 23     Page: 17    Date Filed: 05/12/2023




discourages investors, citizens, and others from petitioning the SEC in the first

place.

                                   CONCLUSION

         For these reasons, Amicus ICAN supports the petition for a writ of

mandamus instructing the SEC to respond to Coinbase’s rulemaking petition.

                                  Respectfully,

DATED:         May 10, 2023        PAUL HASTINGS LLP


                                   By: /s/ Kurt Hansson
                                      Kurt Hansson, N.Y Bar No. 4472825
                                      kurthansson@paulhastings.com

                                   200 Park Avenue
                                   New York, NY 10166
                                   Telephone: 1(212) 318-6000
                                   Facsimile: 1(212) 319-4090

                                   Igor V. Timofeyev*, D.C. Bar No. 998291
                                   igortimofeyev@paulhastings.com
                                   Nicolas Morgan*, CA Bar No. 166441
                                   nicolasmorgan@paulhastings.com
                                   2050 M Street NW
                                   Washington, DC 20036
                                   Telephone: 1(202) 551-1700
                                   Facsimile: 1(202) 551-1705
                                   *Not admitted to practice in the Third Circuit

                                   Attorneys for Amicus Curiae
                                   INVESTOR CHOICE ADVOCATES
                                   NETWORK



LEGAL_US_W # 116299432.3                  - 12 -
          Case: 23-1779    Document: 23     Page: 18   Date Filed: 05/12/2023




                           CERTIFICATE OF SERVICE


       I hereby certify that a true and correct copy of the foregoing Proposed Order,

Motion, and Brief was electronically filed with the Clerk of Court on May 12,

2023 using CM/ECF, which will send notification of such filing to counsel of

record.



                                 /s/ Kurt Hansson
                                  Kurt Hansson
                                  kurthansson@paulhastings.com
                                  200 Park Avenue
                                  New York, NY 10166
                                  Telephone: 1(212) 318-6000
                                  Facsimile: 1(212) 319-4090

                                 Attorneys for Amicus Curiae
                                 INVESTOR CHOICE ADVOCATES
                                 NETWORK




LEGAL_US_W # 116299432.3                  - 13 -
